
USCA1 Opinion

	










                            United States Court of Appeals
                                For the First Circuit
                                 ____________________

        No. 95-1083
                              UNITED STATES OF AMERICA,
                                      Appellee,

                                          v.

                    EDWIN DIAZ-MARTINEZ, a/k/a ALEXIS EL BOXEADOR,
                                Defendant, Appellant.

                                 ____________________

        No. 95-1536
                                 EDWIN DIAZ-MARTINEZ,
                                Petitioner, Appellant,

                                          v.

                              UNITED STATES OF AMERICA,
                                Respondent, Appellee.
                                 ____________________


                    APPEALS FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF PUERTO RICO

                    [Hon. Hector M. Laffitte, U.S. District Judge]
                                              ___________________

                                 ____________________

                                        Before

                                Torruella, Chief Judge,
                                           ___________
                           Campbell, Senior Circuit Judge,
                                     ____________________
                              and Lynch, Circuit Judge.
                                         _____________
                                 ____________________

            James Kousouros,  with whom Debra K.  Kousouros was  on brief, for
            _______________
        appellant.
            Edwin  O. Vazquez,  Assistant United  States Attorney,  with  whom
            _________________
        Guillermo Gil,  United States  Attorney, and Jose  A. Quiles-Espinosa,
        _____________                                ________________________
        Senior Litigation Counsel, were on brief, for the United States.

                                 ____________________

                                  December 13, 1995
                                 ____________________


















                      LYNCH, Circuit Judge.   Following  a shootout  near
                      LYNCH, Circuit Judge.
                             _____________

            the   Bayamon  Judicial  Center   in  Bayamon,  Puerto  Rico,

            defendant Diaz-Martinez was  convicted of possessing firearms

            with obliterated  serial numbers.  He appeals,  saying he was

            forced  to  go  to trial  with  defense  counsel  not of  his

            choosing, that  the prosecutor improperly argued  at closing,

            that his  sentence was  too harsh  under the Guidelines,  and

            that  the  statute  under   which  he  was  convicted  cannot

            withstand Commerce  Clause  scrutiny under  United States  v.
                                                        _____________

            Lopez,  115 S.  Ct. 1624  (1995).  We  reject his  claims and
            _____

            affirm.


                                          I

            Factual Background
            __________________

                      The  sounds  of gunfire  and  a man1  lying  on the

            ground with critical gunshot wounds evidenced a gun battle on

            January  24, 1994  near  the Bayamon  courthouse  and in  the

            parking  lot  of  the Santa  Rosa  Shopping  Center.   A  law

            enforcement officer leaving  the courthouse  heard the  shots

            and ran toward the parking lot.  He saw the defendant running

            through  the  lot, pistol  in one  hand  and a  small object,

            probably a cellular phone, in the other.  The officer saw the

            defendant fire two rounds and ran after him.


                                
            ____________________

            1.  The defendant later told  police that he had gone  to the
            Bayamon  courthouse to pick up  this man, and  that they were
            fired upon as they were leaving the building.

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                      The defendant, who was found  squatting behind some

            bushes, came  out with his hands  up when he  saw the officer

            approaching  and exclaimed  that someone  was trying  to kill

            him.  Other officers who had heard the shots and  one of whom

            had seen the  defendant with a gun also arrived at the scene.

            A search of the area where the  defendant was found turned up

            a  cellular phone and two guns.   One gun had a bullet jammed

            inside.  Both smelled of gunpowder, from recent firing.  Both

            had their  serial  numbers obliterated.   Twenty-two  bullets

            were  found  in  the shopping  center  parking  lot.   Expert

            analysis later  indicated that  thirteen had been  fired from

            the two  pistols.  A  car was also discovered  in the parking

            lot, inside  which were papers indicating it  had been rented

            to the defendant,  plus two nine millimeter  bullet casings  

            the same caliber as the guns.  Other nearby cars  were marked

            with bullet holes.

                      Weapons  charges were  filed against  the defendant

            under Puerto Rico law.  After a finding of probable cause  by

            the local  court, those  charges were dropped  to accommodate

            the federal  prosecution.2  The federal  indictment was filed


                                
            ____________________

            2.  At the  time  of his  arrest,  the defendant  was  facing
            unrelated homicide charges in the Puerto Rico local courts in
            connection  with  murders that  had apparently  received some
            public notoriety.  Defendant says he is known in the media as
            Alexis  El  Boxeador  (Alexis  the  Boxer) and  that  he  was
            recognized by some of the police under that moniker.   He was
            ultimately  acquitted of  the  murder charges  after a  bench
            trial.

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            on  February   9,  1994,  charging  two   counts  of  knowing

            possession of  firearms  bearing obliterated  serial  numbers

            that had been transported  in foreign and interstate commerce

            in violation of 18  U.S.C.   922(k).  After a  four-day trial

            commencing  April 26,  1994, Diaz-Martinez  was  convicted on

            both counts of the indictment.  He was sentenced to serve two

            concurrent  terms of  45 months  plus three  years supervised

            release and was ordered  on each conviction to pay  $3,000 in

            fines and a special assessment of $50.

                      While this appeal was pending, the defendant  filed

            a  petition in the district court for collateral relief under

            28 U.S.C.   2255, arguing that  his trial had been prejudiced

            by  ineffective assistance  of counsel.   The  district court

            dismissed the  petition as premature, inasmuch  as his direct

            appeal  was  still  pending.   The  defendant  appealed  that

            dismissal.   We  consolidated the  defendant's direct  appeal

            from  his convictions and  sentence with his  appeal from the

            dismissal of the section 2255 petition.


                                          II

            A.  Sixth Amendment Right to Counsel Claim
                ______________________________________

                      Diaz-Martinez  claims that  the district  court, by

            refusing to grant him extra time to  seek out his own counsel

            and instead forcing him  to go to trial  with court-appointed

            counsel,  denied him his  right under the  Sixth Amendment to

            choose his own attorney.  His argument is without merit.


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                      Since before his February 15, 1994 arraignment, the

            defendant had  been  represented by  attorney  Mendez-Lebron.

            When  the district  court  on March  3,  1994, scheduled  the

            defendant's trial for April 11, 1994, Mendez-Lebron was still

            his counsel of record.  However,  on March 29, less than  two

            weeks  prior  to  trial,  Mendez-Lebron  filed  a  motion  to

            withdraw.    On March  31, 1994,  the  district court  held a

            hearing   on  Mendez-Lebron's   motion,  together   with  the

            defendant's motion to obtain new counsel.  The defendant told

            the  court  that  he  had  already  contacted  several  other

            attorneys  as potential  replacements for  Mendez-Lebron, and

            that one  of them, attorney  Acevedo, was on  his way  to the

            courthouse to be interviewed by the defendant.

                      The district court, after expressing  skepticism as

            to  why  the defendant  had  waited so  long  to ask  for new

            counsel,  allowed Mendez-Lebron to  withdraw, but  warned the

            defendant that  he would  not tolerate strategic  refusals to

            accept representation by particular counsel in order to delay

            the  trial.  The court  adjourned to permit  the defendant an

            opportunity  to   interview   attorney  Acevedo,   and   then

            reconvened later the  same day.  The  defendant reported that

            Acevedo  was unable to represent  him, but that  he had other

            candidates  in mind whom he wished  to contact.  One of those

            candidates was attorney Jose Gaztambide.





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                      The  court,  observing  that  the  trial  date  was

            rapidly approaching, refused to give the defendant additional

            time to  interview all of  his potential choices  and instead

            appointed Jose Gaztambide   one of the attorneys specifically

            identified by the defendant as  someone he planned to contact

              as  defendant's counsel.   As a further  accommodation, the

            court ordered that the  defendant, who was at the  time under

            house  arrest in Florida, be allowed to travel to Puerto Rico

            to confer  with Gaztambide in preparation for trial, and also

            advised the defendant  that he  could, if he  so chose,  hire

            another attorney as  Gaztambide's co-counsel.   The defendant

            did not object  to Gaztambide's appointment.   The court also

            accommodated the  defendant and his new  counsel by granting,

            on the  defendant's motion, a two-week  continuance of trial.

            The  trial started on April 26,  1994, with Gaztambide acting

            as  defendant's counsel.  At  no time before  or during trial

            did the  defendant  advise the  district  court that  he  was

            dissatisfied with Gaztambide's representation.

                      That a criminal defendant  has an absolute right to

            counsel  "does not confer  an absolute right  to a particular

            counsel."  United  States v.  Poulack, 556 F.2d  83, 86  (1st
                       ______________     _______

            Cir.), cert. denied, 434  U.S. 986 (1977); see also  Wheat v.
                   ____________                        ________  _____

            United States, 486 U.S. 153, 159 (1988) ("[T]he essential aim
            _____________

            of  the  [Sixth]  Amendment  is  to  guarantee  an  effective

            advocate for  each criminal  defendant rather than  to ensure



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            that a defendant will inexorably be represented by the lawyer

            whom he  prefers.");  Morris v.  Slappy,  461 U.S.  1,  13-14
                                  ______     ______

            (1983) (Sixth  Amendment does  not guarantee that  an accused

            have  a "meaningful relationship" with trial counsel); United
                                                                   ______

            States v.  Betancourt-Arretuche, 933 F.2d 89,  93 (1st Cir.),
            ______     ____________________

            cert. denied,  502  U.S.  959  (1991).   A  district  court's
            ____________

            decision not to permit substitution of trial counsel is given

            deference  and  is reviewed  only  for  abuse of  discretion,

            especially when  that decision  is based on  legitimate trial

            management concerns.   See Poulack,  556 F.2d  at 86  ("[T]he
                                   ___ _______

            right  of  an accused  to choose  his  own counsel  cannot be

            insisted upon in  a manner that will  obstruct reasonable and

            orderly court procedure."); see also United States v. Pierce,
                                        ________ _____________    ______

            60  F.3d 886,  890-91  (1st Cir.  1995),  petition for  cert.
                                                      ___________________

            filed, 64 U.S.L.W. ____ (U.S. Oct. 19, 1995) (No. 95-6474).
            _____

                      The  appointment of  Gaztambide as  the defendant's

            trial counsel did not constitute  an abuse of discretion  and

            did not violate the  defendant's Sixth Amendment rights.   If

            anything, the defendant was  granted more choice than  he was
                                                 ____

            due.   Cf. United  States v. Allen,  789 F.2d  90, 92-93 (1st
                   ___ ______________    _____

            Cir.) (affirming denial for request for new appointed counsel

            absent  showing of  good cause), cert.  denied, 479  U.S. 846
                                             _____________

            (1986).  The district court gave the defendant the benefit of







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            the  doubt in  allowing his  original attorney  to withdraw.3

            When  the defendant's  first choice  to replace  that counsel

            refused   the   representation,   the  district   court   was

            understandably wary  about the prospect of  delaying trial in

            order to permit  the defendant to interview  his entire slate

            of  alternate candidates.    The court's  decision simply  to

            appoint  one  of the  counsel  specifically  identified as  a
                                           ______________________________

            candidate by  the defendant himself was  surely a permissible
            ___________________________________

            means of expediting the  process and minimizing delay.   Both

            the public and  the defendant  have an interest  in a  prompt

            trial  in criminal  cases, and  the  judge properly  acted to

            protect that interest.

                      A   district  judge's  decision  on  a  defendant's

            request   to  substitute   trial  counsel   is  entitled   to

            "extraordinary deference" when granting the  request would be

            at the expense of the court's trial calendar.  See Pierce, 60
                                                           ___ ______

            F.3d at 891; see also  Morris, 461 U.S. at 11-12.   Here, the
                         ________  ______

            district   court's  decision  to  permit  the  withdrawal  of

            original  counsel  and  to   appoint  one  of  the  alternate

            candidates identified  by the  defendant himself  (instead of

            waiting  for the  defendant to  interview each  candidate and

            make  a decision  on  his  own)  reflected a  fair  balancing


                                
            ____________________

            3.  The  defendant's  stated  reason  was  that the  original
            attorney  was not his choice but had been selected by another
            of  his  lawyers representing  him  in  a different  criminal
            matter.

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                                          8















            between the defendant's interest  in choosing his counsel and

            the court's trial management needs.  Cf. Poulack, 556 F.2d at
                                                 ___ _______

            86.   That the defendant never objected to the appointment of

            Gaztambide before or during  trial makes the district court's

            decision  all the  more impervious  to the  defendant's post-

            conviction attacks.


            B.  The Prosecutor's Closing Argument
                _________________________________

                      Defendant   argues  that  references  made  by  the

            government in  its closing  argument to  the shootout  in the

            shopping  center parking  lot were  improper and  tainted his

            right  to  a fair  trial.   He  claims that  those statements

            encouraged  the jury  to  convict him  not  on the  basis  of

            firearms possession,  but on the basis  of uncharged conduct:

            his  participation  in  the   shootout.    This  argument  is

            unpersuasive.

                      The defendant  made no  objection to  the allegedly

            improper statements  during the closing argument,  and so our

            review is only for plain error.  See United States v. DeMasi,
                                             ___ _____________    ______

            40 F.3d 1306,  1322 (1st  Cir. 1994), cert.  denied sub  nom.
                                                  _______________________

            Bonasia  v. United  States, 115 S.  Ct. 947  (1995).   On the
            _______     ______________

            record before us, there was no such error.

                      In fact,  there is no basis for concluding that the

            prosecutor's statements  were improper at all.   Testimony by

            prosecution witnesses  concerning the  shootout   some  of it

            deliberately  elicited  by  the  defendant's own  counsel  on


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            cross-examination   was  admitted at trial without  objection
                                                       __________________

            by  the  defendant.    The prosecutor's  comments  about  the

            incident  were  no  more   than  proper  references  to  that

            evidence.

                      The defendant's complaint  about the  prosecution's

            closing  argument  relies upon  an  unrealistic  view of  the

            firearms  charges.    The  prosecution was  not  limited,  as

            defendant would have it, to saying simply  that the defendant

            was  found in a shopping  mall parking lot,  with firearms on

            the ground nearby.   Such utter elimination of  context would

            have unfairly handicapped  the government's case,  leaving it

            unable to  respond to the  defendant's trial theory  that the

            law enforcement  officer who first found him  had planted the

            weapons  in the  parking  lot in  order to  frame  him.   The

            government could provide the jury with a coherent  story that

            met  this  defense,  and  it committed  no  transgression  by

            commenting  on the evidence  admitted at trial.4   See United
                                                               ___ ______

            States v. Garcia, 818 F.2d 136, 144 (1st Cir. 1987).
            ______    ______

                      The prosecutor  also explicitly  asked the jury  to

            base its verdict  on the elements of the  firearms possession


                                
            ____________________

            4.  The defendant also seems to suggest that  evidence of the
            shootout   constituted   references    to   "other    crimes"
            inadmissible under  Fed. R. Evid. 404(b).   Because, however,
            the "shootout" was integrally related to the evidence linking
            the  guns to  the  defendant (the  possession charges),  that
            evidence  could not  have been  barred by  Rule 404(b).   See
                                                                      ___
            United  States v. David, 940  F.2d 722, 737  (1st Cir. 1991),
            ______________    _____
            cert. denied, 504 U.S. 955 (1992).
            ____________

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            charges,  not on evidence of  the shootout.5   The court gave
                      ___

            instructions cautioning  the jury that the  defendant was not

            charged with  any offenses other  than those detailed  in the

            indictment.  There was  no danger that the jury  was prompted

            by the government's argument to  convict the defendant on the

            basis of extraneous conduct.

                      Finally, the defendant  claims that the  prosecutor

            impermissibly attempted to shift the  burden of proof to  the

            defendant by making the following statement in his closing:

                      Ah,   but   the   government    has   not
                      present[ed]   evidence  that   these  two
                      weapons  came  from  Brazil.    It's  not
                      enough that we don't  have manufacturers?
                      The government has to prove that it [h]as
                      traveled   in   interstate   or   foreign
                      commerce.   We don't  have to  prove that
                      they were brought from Brazil.  But it is
                      the   government's    burden   to   bring
                      evidence?  Of course not.


                                
            ____________________

            5.  The defense criticized as extremely thin the government's
            evidence  that the defendant had ever fired any weapon in the
            shopping  center parking  lot.   In response,  the prosecutor
            commented:

                And  [defendant's  counsel]  has  been talking  about
                firing,   firing,  firing,   firing.      Ladies  and
                gentlemen of the jury, this defendant is not  charged
                with firing  a  weapon. . . .  [T]hat is  irrelevant,
                not  because I said that, [but] because  the judge is
                going to instruct  that on the law. [Sic]  And if you
                see [i]n  that instruction that  one of the  elements
                is firing,  I'm going to request  to all  of you that
                you bring a verdict of not  guilty, if you heard that
                instruction.  But  if you heard the instruction  that
                the  government was  to prove  only possession  of  a
                weapon as [you]  are going to  be instruct[ed] by the
                judge,  bring  a   verdict  of  guilty.    [Paragraph
                structure omitted.]

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            The context of this statement makes it clear that  it was not

            improper.    The statement  was  made  in  connection with  a

            discussion of  the interstate or foreign  commerce element of

            the section 922(k) offense.   It responded to the defendant's

            suggestion that the government  had produced no evidence that

            the guns had  been brought to  Puerto Rico  from Brazil.   In

            fact, one  of the  government's witnesses had  testified that

            the  firearms'  country  of  manufacture and  the  importer's

            location could  be  determined by  examining the  identifying

            markings engraved on weapons  imported to this country.   The

            government's response to this criticism continued:

                      When you  go, you  examine   you  have to
                      examine   this   weapon   to    see   the
                      obliterated  serial  number.    The  same
                      weapon  says  that  the  manufacturer  is
                      located  at Brazil.    That  is the  best
                      evidence and that the importer is located
                      at  Miami.   What else  [do] you  need to
                      find out?    No manufacturers  in  Puerto
                      Rico.  Therefore, it ha[d] to come [from]
                      foreign commerce or  [a] foreign  country
                      or interstate.

            The import of these  statements was clearly that, because  no

            gun  manufacturers  exist in  Puerto  Rico,  and because  the

            weapons  themselves   bore  evidence   that  they   had  been

            manufactured in Brazil and  imported originally to Miami, the

            government did not need to produce additional or more  direct

            evidence  that the guns had been brought from Brazil in order

            to prove  the interstate or  foreign commerce element  of the

            section 922(k) offense.  The court's instructions to the jury



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              as well as other portions of the government's own closing  

            made unmistakably  clear that  the burden rested  solely upon

            the  government  to prove  the  defendant's  guilt, and  each

            element of the offenses  with which he was charged,  beyond a

            reasonable doubt.


            C.  Sentencing Issues
                _________________

                      1.  Criminal History Category
                          _________________________

                      The   district   court  departed   upward   from  a

            Guidelines-directed  criminal history category  ("CHC") of II

            to  a  CHC  of  IV,  based  on  a  finding  that  the  former

            classification did not adequately reflect  the seriousness of

            the defendant's criminal history.  We affirm.

                      The specific  grounds for the  district court's CHC

            departure were (1)  that the defendant  had engaged in  prior

            similar  criminal conduct  (including weapons  offenses) that

            had not resulted  in conviction; and (2)  that the defendant,

            at  the time  he  committed  the  federal offense,  had  been

            released  on bail pending trial on charges filed in the local

            court,  thus demonstrating a serious lack  of respect for the

            judicial system and  a high  risk of recidivism.   These  are

            both  encouraged  grounds  for  upward  departure  under  the

            Guidelines.   See U.S.S.G.   4A1.3(d) (Nov. 1994)6 (departure
                          ___

                                
            ____________________

            6.  All  citations to  the Sentencing  Guidelines are  to the
            November 1994 version, the  version in effect at the  time of
            the defendant's December 1994  sentencing.  See United States
                                                        ___ _____________
            v. Aymelek, 926  F.2d 64,  66 n.1 (1st  Cir. 1991)  (district
               _______

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            from Guidelines  CHC may  be considered where  "the defendant

            was pending trial or sentencing on another charge at the time

            of the [offense of conviction]"); U.S.S.G.   4A1.3(e)  (same,

            where  defendant  engaged in  "prior  similar adult  criminal

            conduct not  resulting in  a criminal conviction");  see also
                                                                 ________

            United  States v. Shrader, 56  F.3d 288, 292  (1st Cir. 1995)
            ______________    _______

            (noting  appropriateness  of  "recidivist  determination"  to

            departure decision); cf.  generally United States v.  Rivera,
                                 ______________ _____________     ______

            994 F.2d 942, 947-49  (1st Cir. 1993).  Because  the district

            court's  CHC  departure  was  based  on  grounds specifically

            provided for by the Guidelines, we defer to and find no error

            in the  district judge's determination that the circumstances

            of the defendant's criminal history were understated by a CHC

            of II.  See Shrader, 56 F.3d at 292 (quoting Rivera, 994 F.2d
                    ___ _______                          ______

            at 951-52).


                      2.  Guidelines Sentencing Range
                          ___________________________

                      The   district   court  departed   upward   from  a

            Guidelines sentencing  range of 21  to 27 months  (assuming a

            CHC  of IV), to impose  concurrent sentences of  45 months on

            each conviction.   The upward departure was the equivalent of

            an increase from a base offense level of 12 to a level of 17.

            The departure was permissible.



                                
            ____________________

            court should apply the version of the Guidelines in effect at
            the time of sentencing, barring ex post facto problems).
                                            __ ____ _____

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                      The  defendant's  suggestion   that  the   district

            court's  departure  decision was  based  on  no  more than  a

            dissatisfaction   with   the   Guidelines  sentencing   range

            mischaracterizes and is  contradicted by the  record.  To  be

            sure,  the district  court did  conclude that  the sentencing

            range  was  unsatisfactory     that was  why  it  entertained

            departure in the first place.  What is important is that,  as

            the court's  lucid discussion at the  sentencing hearing made

            clear, its "dissatisfaction" was  not based on some "personal

            sense of inequity,"  United States v.  Wogan, 938 F.2d  1446,
                                 _____________     _____

            1449  (1st Cir.) (quoting United States v. Norflett, 922 F.2d
                                      _____________    ________

            50, 54 (1st Cir.  1990)), cert. denied, 502 U.S.  669 (1991),
                                      ____________

            but rather was  explicitly premised on  features of the  case

            that arecontemplated asgrounds fordeparture bythe Guidelines.

                      The defendant was sentenced under U.S.S.G.   2K2.1.

            Application  note 16 to  that guideline  specifically permits

            upward departure  where  the defendant's  underlying  offense

            conduct "posed a substantial  risk of death or bodily  injury

            to multiple individuals."  U.S.S.G.   2K2.1, comment. (n.16).

            Here, the  district court expressly found  that the defendant

            had  discharged  his two  firearms  in  a congested  shopping

            center parking lot  just before he  was apprehended.   Noting

            that the incident occurred during the middle of the day, that

            the defendant had  run his  car into another  vehicle in  the

            parking lot, and that  surrounding vehicles were riddled with



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                                          15















            bullet holes, the court concluded that the case was factually

            "out  of  the  heartland"  of the  applicable  guideline  and

            therefore was  an appropriate candidate  for departure  under

            application note 16.

                      The grounds  relied upon by the  district court are

            supported  by the record and are  specifically permitted as a

            basis for departure  in the commentary to section 2K2.1.  The

            district court's determination  that this case falls  outside

            the heartland of cases encompassed by that guideline, as well

            as the magnitude  of the  departure, were  appropriate.   See
                                                                      ___

            Rivera, 994 F.2d at 951-52.
            ______


            D.  Constitutionality of 18 U.S.C.   922(k)
                _______________________________________

                      Diaz-Martinez argues  that this is  a simple  state

            weapons  case   which  Congress   had  no  power   under  the

            Constitution to  federalize.  The firearms possession statute

            under  which  he  was   convicted,  18  U.S.C.    922(k),  is

            unconstitutional, he says, because it exceeds Congress' power

            to  legislate under  the Commerce  Clause, as  interpreted in

            United States v.  Lopez, 115 S. Ct. 1624 (1995).   We hold to
            _____________     _____

            the  contrary.   Whatever  the reach  of  Lopez, it  does not
                                                      _____

            invalidate 18 U.S.C.   922(k).

                      In Lopez,  the Supreme Court found significant that
                         _____

            the  statute  at  issue in  that  case,  18 U.S.C.    922(q),

            "contain[ed]  no jurisdictional  element which  would ensure,

            through case-by-case inquiry, that the  firearm possession in


                                         -16-
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            question affects interstate commerce."   115 S. Ct.  at 1631.

            In contrast,  that  jurisdictional element  is present  here.

            The statute under which Diaz-Martinez was convicted  contains

            a specific requirement that  the firearm with the obliterated

            serial number have been "shipped or transported in interstate

            or  foreign commerce."  18  U.S.C.   922(k).   Here there was

            proof  that  the  firearms  were  made  in  Brazil,  imported

            originally to  Miami, and  altered to remove  the identifying

            number  in  violation  of federal  law.    Section  922(k) is

            readily   distinguishable   from  the   provision   that  was

            invalidated  in  Lopez,  and  its enactment  did  not  exceed
                             _____

            Congress' authority under the Commerce Clause.


                                         III

            The Section 2255 Petition
            _________________________

                      The  dispositive  question   for  the   defendant's

            attempt to  obtain relief  under section  2255 on  grounds of

            ineffective assistance of counsel is whether the petition was

            prematurely  filed.   Believing that  it was,  we affirm  the

            district  court's  order   dismissing  the  petition  without

            prejudice.

                      The settled rule in  this circuit, as the defendant

            acknowledges, is  that the  district court should  decline to

            hear  claims  for  relief   based  on  allegedly  ineffective

            assistance  of counsel  until the  direct appeal  is decided,

            unless "extraordinary  circumstances" are demonstrated.   See
                                                                      ___


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            United States v.  Buckley, 847  F.2d 991, 993  n.1 (1st  Cir.
            _____________     _______

            1988), cert. denied,  488 U.S. 1015 (1989); United  States v.
                   ____________                         ______________

            Gordon,  634 F.2d  638,  638-39 (1st  Cir.  1990) ("[I]n  the
            ______

            absence   of   extraordinary   circumstances,   the   orderly

            administration of criminal justice precludes a district court

            from considering a    2255 motion while review of  the direct

            appeal  is still  pending . . . ." (internal  quotation marks

            and citations omitted)).  The district court explicitly found

            that "extraordinary  circumstances" did not  exist warranting

            consideration of the defendant's section 2255 petition during

            the  pendency in this court of the defendant's direct appeal.

            The court thus dismissed the petition, without prejudice.

                      There is no basis  for second guessing the district

            court's    finding   of   an    absence   of   "extraordinary

            circumstances."    Because   the  record   necessary  for   a

            determination of the ineffective assistance claim has not yet

            been factually developed, we decline to consider the issue at

            this time,  preferring that  the district court  evaluate the

            claim in the first  instance.  See United States  v. Natanel,
                                           ___ _____________     _______

            938 F.2d 302,  309 (1st  Cir. 1991), cert.  denied, 502  U.S.
                                                 _____________

            1079 (1992);  United States v.  Hunnewell, 891 F.2d  955, 956
                          _____________     _________

            (1st Cir.  1989).  The government concedes  that the petition

            may  be refiled in the district court upon resolution of this

            appeal.





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                      Affirmed.
                      _________



















































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